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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                  )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                             )
                                              )      SPECIAL MASTER COHEN
THIS DOCUMENT RELATES TO:                     )
“All Cases”                                   )
                                              )      ORDER REGARDING
                                              )      2013-14 ARCOS DATA
                                              )


       In an earlier Order Regarding Redacting and Sealing of Documents, the undersigned wrote:

“Upon issuance of the Sixth Circuit’s mandate vacating this Court’s Protective Order, there is no

longer any question that aggregated ARCOS data cited in any document must be unredacted and

unsealed, including the 2013-2014 data.” Docket no. 2909 at 4. The Order further stated that “the

transactional ARCOS data at issue in this case, which has been kept and produced by the DEA, can

no longer remain under seal.” See id. at 5.

       Although strongly implied, this earlier Order did not state explicitly that raw 2013-2014

ARCOS data could no longer be kept under seal and should also be made publicly available. But

see id. at 5 (“the transactional ARCOS data at issue in this case, which has been kept and produced

by the DEA, can no longer remain under seal.”). The instant Order now makes clear that this is and

was the case, and any of the Court’s earlier protective orders are amended accordingly.

       IT IS SO ORDERED.

                                                     /s/ David R. Cohen
                                                     DAVID R. COHEN
                                                     SPECIAL MASTER

Dated: January 14, 2020
